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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

   SHARON EUL et.al.              )
   on behalf of plaintiffs and a class,
                                  )
                                  )                 15-cv-7755
               Plaintiffs,        )
                                  )                 Honorable Ruben Castillo
         vs.                      )                 Magistrate Judge Maria Valdez
                                  )
   TRANSWORLD SYSTEMS INC. et.al. )
               Defendants.        )



                      AGREED MOTION TO WITHDRAW
         PLAINTIFF’S MOTION TO ENFORCE SETTLEMENT AGREEMENT

       Plaintiff Sharon Eul, through her attorneys, respectfully requests to withdraw Plaintiff’s

Motion to Enforce Settlement Agreement [Doc #137], all matters brought to this Court having

been resolved. Defendants have agreed to this motion.



                                                    Respectfully submitted,

                                                    /s/ Cathleen M. Combs
                                                    Cathleen M. Combs

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Class for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I, Cathleen M. Combs, hereby certify that on April 4, 2019, I filed the forgoing document

with the Clerk of the Court using the CM/ECF System, which caused to be sent notification of

such filing to call counsel of record.



                                                   /s/ Cathleen M. Combs
                                                   Cathleen M. Combs



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